Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 1 of 32

Fill in this information to identify your case and this filing:

Floyd Alexander Lynch

First Name Middle Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name
United States Bankruptcy Court for the: Southern Distri

Case number

 

 

Official Form 106A/B
Schedule A/B: Property

 

United States Courts
Southern District of Texas
FILED

Nov 22 2019

David J. Bradley, Clerk of Court

CL] Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Lr: a a

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Wi No. Go to Part 2.

C) Yes. Where is the property?
What is the property? Check all that apply.

LD Single-famity home
Q Duplex or multi-unit building
QO Condominium or cooperative

1.1.
Street address, if available, or other description

 

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

(J) Manufactured or mobile home entire property? portion you own?
Q Lang $ $
L) investment property
: C) Timeshare Describe the nature of your ownership
City State ZIP Code 0 oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
(J Debtor 1 only

County C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only
(J At least one of the debtors and another

LI] check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that apply.
U) Single-family home

42. QO Duplex or multi-unit building

Street address, if available, or other description

 

CL) condominium or cooperative

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

£) Manufactured or mobile home entire property? portion you own?
LQ Lang $ $
LJ investment property
. Describe the nature of your ownership
City State ZIP Code 5 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
QQ Debtor 1 only
County LJ Debtor 2 only

(] Debtor 1 and Debtor 2 only
C At least one of the debtors and another

Q] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Debtor 1

Floyd AEBSF RARAS Document 3 Filed in TXSB

 

First Name Middle Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..................cccccccssssesessecssncececcessuteseesseneseseesesseuaseeseesanencs >

‘iawse Describe Your Vehicles

What is the property? Check all that apply.
LI Single-family home

LJ Duplex or multi-unit building

CJ Condominium or cooperative

C) Manufactured or mobile home

CJ Land

LC] investment property

CL] Timeshare

2 other

 

Who has an interest in the property? Check one.
(J Debtor 1 only

C} Debtor 2 only

() Debtor 4 and Debtor 2 only

() At least one of the debtors and another

on 11/22/19 Page 2 of 32

Case number (i known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

LJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

 

Do you own, fease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Jd No
CO) Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
L] Debtor 1 only

(ad Debtor 2 only

LC) Debtor 1 and Debtor 2 only

Lud At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
LJ Debtor 1 only

3 Debtor 2 only

LL) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(3 Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
Debtor Floyd ABandstr Brent Document 3 Filed in TXSB on 11/22/19 Page 3 of 32

 

ifst Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

(J Debtor 1 only

(3 Debtor 2 only

©] Debtor 1 and Debtor 2 only

UL) At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CQ Debtor 1 only

3 Debtor 2 only

(J Debtor 1 and Debtor 2 only

() At least one of the debtors and another

(I Check if this is community property (see
instructions)

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

a No
J Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

42. Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.
C) Debtor 1 only

CJ Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(check if this is community property (see
instructions)

Who has an interest in the property? Check one.
L} Debtor 1 only

CD Debtor 2 only

(2 bebtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

you have attached for Part 2. Write that number here

Official Form 106A/B

Schedule A/B: Property

page 3

 
Floyd Msahder Oiret? Document 3 Filed in TXSB on 11/22/19 Page 4 of 32

Debtor 1 Case number (if known)

 

First Name Middle Name Last Name

iFiamie Describe Your Personal and Household items

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you own or have any legal or equitable interest in any of the following items? portion you own? ©
Do not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
Q No oo cencntar ne tnt anni aor anion ss dans eveenaniiauinnin anmarninnrican meson tte gaat
id Yes. Describe......... Furnishings-debtors residence $ 400
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
L) No ay
d Yes. Describe.......... televisions, laptop computer, printer, cell phone i ¢ 150
:
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
id No . - ey
L] Yes. Describe... s lg
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
4 No re cerns enantio on en inte oe nes eee inti et) Si heen anette ssn ae ee ei
L) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
WJ No ome . - - ee a a nc enna nenn a er antinnentneneinn nce
QO Yes. Describe. nosed Miscellaneous clothing-residence ig 150
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
Q No z i
id Yes. Describe.......... | $
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
id No '
L) Yes. Describe.......... : $
13,Non-farm animals
Examples: Dogs, cats, birds, horses
(J No _ ns vets norte nin pti wma eset shintnan tment imines nis
id Yes. Describe.......... Shih-poo dog i$ 100
14. Any other personal and household items you did not already list, including any heatth aids you did not list
ld No ey na
C) Yes. Give specific ee
information. ............. i _. __ oe §
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 800
for Part 3. Write that mumber ere oo... ecco cess seessecscesssssecenssesseecsssssecesssnscecsensuuuesssssuissssssuusssssssnesessnuesessnnneesetarseneereeneeseseeess > ee

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Floyd AeSaidet Cire Document 3 Filed in TXSB on 11/22/19 Page 5 of 32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number ( known)
First Name Middie Name Last Name
ry Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
id No
Q VOS voecccccccccccccscseseesscsesscecsrsnenescesesssssssuvesesucsssueceasaeaacaasacseseesasescaatenesuenepnesseassssssesssasssissssscaescenseneaeenanesceeseeseeses CASH: cocccccccccccececececee $
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
L) No
Yes Institution name:
17.1. Checking account: Mckesson Credit Union $ 27.00
17.2. Checking account: $
17.3. Savings account: Mckesson Credit Union $ 34.00
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual! funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
W No
OD Yes wu. Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
No Name of entity: % of ownership:
CL) Yes. Give specific 0% % $
information about 3
THEM... eee 0% % $
0% % 5

 

Official Form 106A/B Schedule A/B: Property page §
ase 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 6 of 32
Debtor 1 Floyd Aaxan er Lynch Case number (if known). g

First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
(Ld Yes. Give specific |ssuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $.
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

4 No

CD Ves. cccccccssesnen Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented fumiture: $
Other:

er: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
1 No
i ee Issuer name and description:
$
$

 

Official Form 106A/B Schedule A/B: Property page 6
Floyd AleRahidbr Lynen” Document 3 Filed in TXSB on 11/22/19 Page 7 of 32

Debtor 1 Case number (i known),

 

First Name Middie Name Last Name

24. interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
WY No
i

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

UW No . _

LC Yes. Give specific
information about them.... i$

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: tnternet domain names, websites, proceeds from royalties and licensing agreements

Wi No

Cl] Yes. Give specific
information about them....

fee neem

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

W No

CQ) Yes. Give specific :
information about them.... i$

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

W No

L) Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years. «0.0... :

i | Federal:
\

State:

 

+ Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

YW No ee

CJ Yes. Give specific information..............

Alimony:
Maintenance:
Support:

! Divorce settlement:

PAA HF HF

Property settlement:

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No

C) Yes. Give specific information

 

be eneamwrinesntedl
ww

 

Official Form 106A/B Schedule A/B: Property page 7
Floyd Aekahider Giteh” Document 3 Filed in TXSB on 11/22/19 Page 8 of 32

Debtor 1 Case number (i known)

 

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

J No

CJ Yes. Name the insurance company

. _” Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

(J Yes. Give specific information.............

 

 

 

 

 

 

 

 

 

 

$
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
Wd No
U0 Yes. Describe each claim. «0...
| i$
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
id No en
OQ) Yes. Describe each Claim. .......ceeese [
: $
35. Any financial assets you did not already list
id No
LI Yes. Give specific information............ $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 0
for Part 4. Write that mumber ere 2.0.0.0... ccccceseeccssseessssosssecesconsesesessvissseesous ses sssnssessnsssecasssssescsssseeceesuanesecaniecerssssusessssaeeetee eee > $

 

 

 

‘cust Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
(4 No. Go to Part 6.
LI] Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
38, Accounts receivable or commissions you already earned
U No ene a co ce
Q) Yes. Deseribe....../
8

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No
L) Yes. Describe.......

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
Floyd Alesahder Linen“ Document 3 Filed in TXSB on 11/22/19 Page 9 of 32

Debtor 1 Case number (if known),

 

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

OQ) No . / ; . .
Q) Yes. Describe....... if
: i
) J

 

41. Inventory
i] No one soe once
C) Yes. Describe....../ 5

 

 

42.interests in partnerships or joint ventures

(J No

LI Yes. Deseribe....... Name of entity: % of ownership:

% $
%
% $

 

A

 

 

43.Customer lists, mailing lists, or other compilations
LJ No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

QYNo _
() Yes. Describe........ |

t
t

Aa

 

44. Any business-related property you did not already list
Q) No

LJ Yes. Give specific
information .........

 

 

 

 

 

PF FF FH H

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that nummber Were oo... ccc cesssssscsossessseseccessssseesesecssssvenseseseatssssssseseceensatissstesacsosasuceeasssasopseeeeeessnnesseeeceens >

 

 

 

ele mo Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wi No. Go to Part 7.
L] Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
C) No
Q Yes ooeecceceeessetteeeece r erst towns mnt WT NSE es A ARSE RN NN RS MENA AR INN RE GAR HERE cE Aa TSA Nem AN ARN A AR a PIO a A QR RT RE A ag AS 4
! i
| i
| §

 

Official Form 106A/B Schedule A/B: Property page 9
Floyd wraxanderd ncn Document 3 Filed in TXSB on 11/22/19 Page 10 of 32

Debtor 1 Case number (if known),

 

First Name Middie Name Last Name

48. Crops—either growing or harvested

 

Q No So centenarians
() Yes. Give specific |
information............. 1 §

Liner uinect nome neeneenine Soca Gannett iat ie iran gwthciner fai feenseteee Gita ioe anne cegtana tt cei cient imamate ciaeseenuncenmnnaienee © aunt time ove canetenet tnee arene cnn

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C} No
i - - oe eee eee eee |
| | $
50.Farm and fishing supplies, chemicals, and feed
(3 No
ee : ee
$
51. Any farm- and commercial fishing+elated property you did not already list
Q No foe nie ern ate ee NN a RR NSE ARN NON I eg ON Sa eb oO Oe Nn Eh ing nrinae teat attested IER 9 RECT Sean SE aruet te ime me abate a ce ee Stari tena a nae same _
C} Yes. Give specific
information.............! $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that mummber Mere oo... ccccccscssssssssssssssssssssseessasecsssssccsssvesscstscesseeesssnsesssssaveneseesuessssuesssessesssseessnveessescasseeeerenes >
EAE vescrine All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not aiready list?
Examples: Season tickets, country club membership
WZ No mm
i
LJ Yes. Give specific :
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number ere ooo... cece cee scec cece ceesseccseeceenees > $
ce ts the Totals of Each Part of this Form
55. Part 1: Total real estate, Hime Qo... cece tesseeesscsescneeceessnscennsvusssscesseutesssstsssstunsuussnssessssseeeeeanssssssssasisuasununusseeesesenneesssnnaaten > $ 0
56. Part 2: Total vehicles, line 5 $ 0
. : . 800
57.Part 3: Total personal and household items, line 15 $
58. Part 4: Total financial assets, line 36 $ 0
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61.Part 7: Total other property not listed, line 54 +s 0
62. Total personal property. Add lines 56 through 61. ................... $ 800 ‘Copy personal property total > +3 800
. 800
63. Total of all property on Schedule A/B. Add line 55 + line 62.0000. ceeccecsccsecssssceseesssessscnseueusaccescnesesseccrseeesesseansatens $

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
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Fill in this information to identify your case:

Floyd Alexander Lynch

First Name Middle Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Texas

Case number LJ Check if this is an
{if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C} You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief Computer, printer, electroni _ 1tusc522(d)(3)
description: puter, printer, electronics $ 150 i) $
Line from J 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief ; . Property 42.001 ,42.002
description: Miscellaneous Clothing $ 150 Os perty
Line from J 100% of fair market value, up to
Schedule AB: — any applicable statutory limit
Brief wp _ property 42.001, 42.002
description: furnishings ss $_400 Ls property
Line from 4d 100% of fair market value, up to
Schedule AB: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
No

L) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CJ No
L) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1of___
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 12 of 32
Floyd Alexander Lynch

First Name Middle Name

Additional Page

Debtor 1 Case number (i known)

 

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule VB
. 11 U.S.C. sec. 522(d)(3

oer tion Shih-poo household pet $ 100 Os U (d)(3)

ption:
Line from ad! 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from (2) 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $ Os
Line from L) 100% of fair market value, up to
Schedule AB: —_ any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C3 100% of fair market value, up to
Schedule A/B: -——— any applicable statutory limit
Brief

iption: $ is
description:
Line from (3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Cs
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Us
Line from L) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Ls
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from La} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from L) 100% of fair market value, up to
Schedule AB: ——— any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule AB: ~— any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

page 2_ of __
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 13 of 32

Fill in this information to identify your case:

Debtor 1

Floyd Alexander Lynch

 

First Name

Debtor 2

Middle Name

 

(Spouse, i filing) First Name

Middle Name

United States Bankruptcy Court for the: Southern District of Texas

Case number

 

(if known)

Official Form 106D

 

 

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
ff No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

QQ) Yes. Fill in all of the information below.

Ee ice All Secured Claims

LJ Check if this is an

amended filing

12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

C) bDebtor 1 only

OQ) Debtor 2 only

QC) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

CJ Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: B—___ |

Official Form 106D

(2 Disputed

Nature of lien. Check all that apply.

QO) An agreement you made (such as mortgage or secured
car loan)

oO Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit

) other (including a right to offset)

Last 4 digits of account number ___

Schedule D: Creditors Who Have Claims Secured by Property

: . Column A Column B Column C
_ 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount ofclaim Value ofcollateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Patt2. 4 not deduct the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
[2.1] Describe the property that secures the claim: $ $. $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
Q Unliquidated
City State ZIP Code 2 Disputed
| Who owes the debt? Check one. Nature of lien. Check all that apply.
LI Debtor 4 only An agreement you made (such as mortgage or secured
| C) Debtor 2 only car loan)
0 Debtor 4 and Debtor 2 only (2 Statutory lien (such as tax tien, mechanic's tien)
(C) At least one of the debtors and another C1 Judgment lien from a tawsuit
| C1) other (including a right to offset)
: () Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber
| 2.2] Describe the property that secures the claim: $ $. $
Creditors Name \
Number Street i
As of the date you file, the claim is: Check all that apply.
Q Contingent
(1 Untiquidated
City State ZIP Code
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 14 of 32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (ff known),
First Name Middle Name Last Name
Additional Page Column A Column B Column C
eo . . a. . Amount of claim Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this portion
by 2.4, and so forth. value of collateral. claim if any
Describe the property that secures the claim: $ $ $
Creditors Name
Number Steet
As of the date you file, the claim is: Check all that apply.
C) Contingent
City Gtate_ZIP Code CJ Untiquidated
L) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CJ Debtor 1 only (J An agreement you made (such as mortgage or secured
C) pebtor 2 only car loan)
Debtor 1 and Debtor 2 only CI Statutory lien (such as tax lien, mechanic's tien)
(CJ Atleast one of the debtors and another CD Judgment lien from a lawsuit
C) Other (including a right to offset)
U Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
Describe the property that secures the claim: $ $ $
Creditors Name 1
Number Street |
As of the date you file, the claim is: Check all that apply.
O Contingent
C2 unliquidated
City State ZIP Code © pisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Q) Debtor 1 only OQ) An agreement you made (such as mortgage or secured
OC) Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only CJ Statutory lien (such as tax lien, mechanic's lien)
{J At least one of the debtors and another | Judgment fien from a lawsuit
. . ludit igh
C1 Check if this claim relates to a UO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
GQ Contingent
City Slate ZIP Code CJ unliquidated
O Disputed

Who owes the debt? Check one.

CJ debtor 1 only

(2 Debtor 2 only

(2 Debtor + and Debtor 2 only

CD Atleast one of the debtors and another

U0 Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from ail pages.

_. Write that number here:

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page__ of

Nature of lien. Check all that apply.

C) An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's lien)

Q Judgment lien from a lawsuit

) Other (including a right to offset)

Last 4 digits of account number ___

 
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 15 of 32

Debtor 1 Case number (i known)
First Name Middle Name Last Name

ESSA use Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

| agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
: you have more than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to
| be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

[ On which line in Part 4 did you enter the creditor?
Name Last 4 digits of account number_—
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

[|] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number

 

Number Street

 

 

 

 

 

 

 

 

 

 

City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

L] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__ of
on 11/22/19 Page 16 of 32

Fill in this information to identify your case:

Floyd Alexander Lynch

First Name Middle Name

Debtor 4

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

United States Bankruptcy Court for the: Southern District of Texas

CJ Check if this is an

b :
Case number amended filing

(If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

 

12/15

Ca List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

lad No. Go to Part 2.
UJ) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Totai claim Priority Nonpriority
amount amount :
2.4
Last 4 digits of account number § $
Priority Creditors Name
When was the debt incurred?
Nurnber Street
As of the date you file, the claim is: Check all that apply.
ohy Sta ZIP Gode a Contingent
> OC) Unliquidated
Who incurred the debt? Check one. Q Disputed
CO) Debtor 1 only
C Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C) Domestic support obligations
Al least one of the debtors and another (J) taxes and certain other debts you owe the government
C) Check if this claim is for a community debt OQ chims for death or personal injury while you were
ts the claim subject to offset? intoxicated
OO No (J Other. Specify
O) Yes
la2 | Last 4 digits ofaccountnumber = 6 dF $

 

Priority Creditors Name

 

 

 

 

When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent

City State ZIP Code C Unliquidated

Who incurred the debt? Check one.

QC) Debtor 1 only

C) Debtor 2 only

(J Debtor 4 and Debtor 2 only

U0 At teast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CQ No
C Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

C) Disputed

Type of PRIORITY unsecured claim:
(9 Domestic support obligations
Q) Taxes and certain other debts you owe the government

C) Claims for death or personal injury while you were
intoxicated

( other. Specify

 

page 1of_

 
Debtor 1

Floyd Alexandér yacht! Document 3 Filed in TXSB og 1 /A2/J2.,, Page 17 of 32

 

First Name Middle Name

Last Name

 

Your PRIORITY Unsecured Claims — Continuation Page

. After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

() Debtor 1 only

OQ) Debtor 2 only

QO) Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

QO) Check if this claim is for a community debt

ls the claim subject to offset?

O) No
yes _

Official Form 106E/F

 

QO) Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations
C) Taxes and certain other debts you owe the government

Q) Claims for death or personal injury while you were
intoxicated

Total claim _— Priority Nonpriority
amount amount
Last 4digits of account number_—s st tiéSS 5 $.
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
| Contingent
City State ‘ZIP Code (2 Untiquidated
QC) Disputed
Who incurred the debt? Check one.
CJ Debtor 1 only Type of PRIORITY unsecured claim:
U1 Debior 2 only C) Domestic support obligations
Q) Debtor 1 and Debtor 2 only :
OO At tea tthe debt danoth CJ Taxes and certain other debts you owe the government
t least one of the debtors and another C1) Claims for death or personal injury while you were
() Check if this claim is for a community debt intoxicated
CD other. Specify
Is the claim subject to offset?
C) No
O) Yes
Last 4 digits of account number $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City State ZIP Code C2 Unliquidated
Cl) Disputed
Who incurred the debt? Check one.
C} Debtor 1 only Type of PRIORITY unsecured claim:
O Debtor 2 only C) Domestic support obligations
C3 Debtor 1 and Debtor 2 only .
C] Taxes and certain other debts you owe the government
QC) At least one of the debtors and another . oe .
O) Claims for death or personal injury while you were
Q Check if this claim is for a community debt intoxicated
QC) other. Specify
Is the claim subject to offset?
CI No
Q) Yes
Last 4 digits of account number $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Qj Contingent
City State ZIP Code ( Unliquidated

 

Q) other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

page _of__

 

 

 
Debtor 1 Floyd Alexander gaie| Document 3 Filed in TXSB og, 1 1/22/19. Page 18 of 32

First Name Middle Name Last Name

| Part 2: List All of Your NONPRIORITY Unsecured Claims

 

 

3. Do any creditors have nonpriority unsecured claims against you?

CI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
Ad Astra Last 4 digits of account number_ 2 459.00
: Nonpriority Creditors Name Auaust $s ee
7339 W 33rd Street North Suite 118 When was the debt incurred? _UGUS! _
Number Street
Whicita KS 67205
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Contingent
Who incurred the debt? Check one. CJ unliquidated
4 Debtor 1 only QO) Disputed
C) Debtor 2 only
C} Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C2 At least one of the debtors and another O Student loans
QO Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C2 Debts to pension or profit-sharing plans, and other similar debts
QO No @ other. specify Loan
C2 Yes
2 | Ad Astra Last 4 digits of account number _— s___—«986.00__
Nonpriority Creditor’s Name When was the debt incurred? July 2019
7339 W 38rd Street North Suite 118
Number Street
Whicita KS 67205 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. L) Untiquidated
Debtor 1 only a Disputed
QC) Debtor 2 only .
(2 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another C} Student loans
eae a . Q Obligations arising out of a separation agreement or divorce
U) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? U1 Debts to pension or profit-sharing plans, and other similar debts
O No Q) Other. Specify loan
QO) Yes
fs Transworld System Last 4 digits of account number ’ gp
Nonpriority Creditors Name Wh the debt i 4? $ t
en was the debt incurre
P O Box 15095
Number Street
Wilmington DE 19850 a
Ciy Sate FP Code As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

@ Debtor 1 only

Q) Debtor 2 only

() Debtor 1 and Debtor 2 only

(C) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
i No
QO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

a Contingent
2 unliquidated
O) Disputed

Type of NONPRIORITY unsecured claim:

QC) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts
lad’ Other. Specify utilities

page. of__

 

 

 

 
aren Floyd Slexentiersgne@h Document 3_ Filed in TXSB og, d1ee/12.m-age 19 of 32

 

First Name Middle Name Last Name

 

i «- NONPRIORITY Unsecured Claims — Continuation Page

_ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

MERCANTILE ADJUSTMENT BU

 

 

 

Nonpriority Creditor's Name

165 LAWRENCE BELL DRIVE SUITE 100
Number Street

WILLIAMSVILLE, NY
City State ZIP Code

Who incurred the debt? Check one.

C1] Debtor 4 only

C) Debtor 2 only

CI Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

QC) Check if this claim is for a community debt

ts the claim subject to offset?

Last 4 digits of account number $ 1227.00
When was the debt incurred? July 2019

As of the date you file, the claim is: Check all that apply.

Q Contingent
C) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify utilities

 

 

 

 

 

 

 

C) No
C} Yes

Capital One Last 4 digits of account number $ 4 21.0
Nonpriority Creditor's Name

PO BOX 30281 When was the debt incurred? _August
Number Street 7 +

SALT LAKE CITY. UT As of the date you file, the claim is: Check all that apply.
City State ZIP Code CJ Contingent

C unliquidated

Who incurred the debt? Check one. QO Disputed

if Debtor 1 only

C) Debtor 2 only

CO) Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

Type of NONPRIORITY unsecured claim:

(J Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OC) Debts to pension or profit-sharing plans, and other similar debts

if other. Specify Credit card

 

 

 

 

 

QO) No
C1 Yes
LJ 310,751.

ONEMAIN Last 4 digits of account number —_——

Nonpriority Creditor's Name
PO BOX 1010 When was the debt incurred? _May 2018

EVANSVILLE IN 47706 As of the date you file, the claim is: Check all that apply.

City State ZIP Code O Contingent

Who incurred the debt? Check one.

6d Debtor 1 only

C) Debtor 2 only

(CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

U) Check if this claim is for a community debt

Is the claim subject to offset?

() No
C3 Yes

Official Form 106E/F

(J Unliquidated
(3 Disputed

Type of NONPRIORITY unsecured claim:

C) student ioans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts
if other. Specify loan

Schedule E/F: Creditors Who Have Unsecured Claims page__ of
pebtor: Floyd Alexandertypeh Document 3 Filed in TXSB 08.b4Ae/4QumPage 20 of 32

First Name Middle Name Last Name

 

icles Your NONPRIORITY Unsecured Claims — Continuation Page

 

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

Medical College of Virgina

 

 

 

Nonpriority Creditor's Name

1601 Willow Lawn Dr
Number Street

Richmond VA 23230
City State ZIP Code

Who incurred the debt? Check one.

L) Debtor 4 only

CQ) Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

Last 4 digits of account number 5 83.00
When was the debt incurred? Feb 2014

As of the date you file, the claim is: Check all that apply.

GO Contingent
( unliquidated
CO Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C} Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify medical bill

 

 

 

 

 

 

 

 

 

 

 

 

 

C) No
C) Yes
Medical College of Virginia Last 4 digits of account number $s 612.00
Nonpriority Creditor’s Name Fi
. i 2 ‘eb 2014
1601 Willow Lawn Dr When was the debt incurred?
Ne Ate As of the date you file, the claim is: Check all that appt
SALT LAKE CITY, UT so ate you Me, ne claim s+ Cneck a Ply:
City State ZIP Code a Contingent
(2 Uniiquidated
Who incurred the debt? Check one. O disputed
ef Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CO student foans
At least one of the debtors and another a) Obligations arising out of a separation agreement or divorce that
OQ) Check if this claim is for a community debt you did not report as priority claims -
CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@ other. Specify Medical bill
C2 No
O) Yes
LJ _ $
Last 4 digits of account number
Nonpriority Creditor's Name
When was the debt incurred?
Number Street .
As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q) Contingent

Who incurred the debt? Check one.

C) Debtor 1 only

Q] Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

J] Check if this claim is for a community debt

is the claim subject to offset?

CJ No
C) Yes

Official Form 106E/F

Q Unliquidated
Cl] Disputed

Type of NONPRIORITY unsecured claim:

C) student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO) Debts to pension or profit-sharing plans, and other similar debts
O) other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims page. _of_
Debtor 1

Add the Amounts for Each Type of Unsecured Ciaim

Floyd Alexandertgach Document 3 Filed in TXSB O€gcb diate’ bQun Page 21 of 32

 

First Name Middle Name Last Name

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a.

6b.

Domestic support obligations

Taxes and certain other debts you owe the
government

6c. Claims for death or personal injury while you were

6d.

6h.

6i.

intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

. Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6. +5 IL AG4 os

Gj.

Total claim

 

 

©

 

 

Total claim

 

 

s_|

get 0

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page__ of
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 22 of 32

Fillin this information to identify your case:

Debtor Floyd Alexander Lynch

First Name Middle Name

 

Debtor 2
(Spouse If filing) First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Texas

Case number . - oe
(If known) L} Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
dl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
(2 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AB: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

oe RY an State ZIP Code
23

 

Name

 

Number Street

 

can A ce te cou State ZIP Code,
2.4

 

Name

 

Number Street

 

Sy 8, State ZIP Code
2.5

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of_
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 23 of 32
Debtor? - Floyd Alexander Lynch

Case number (ff known)

 

First Name

Middle Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

22

What the contract or lease is for

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

 

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

Official Form 106G

State

_ ap Code

Schedule G: Executory Contracts and Unexpired Leases

page __

of
Debtor 1

Floyd Alexanderagnea Document 3 Filed in TXSB ond Ag 42m age 24 of 32

First Name

Middie Name

Last Name

 

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 4 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): 2 Part 4: Creditors with Priority Unsecured Claims
Number Street (C) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_
ay State. ZIP Code . coe cs . .
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CL] Part 1: Creditors with Priority Unsecured Claims
Number Street CJ Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City. . _ State __ ZIP Code a ve foe ete gnu eeesy een ca uty en cate ces
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
xa On which entry in Part 1 or Part 2 did you list the original creditor?
ime
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street
LJ Part 2: Creditors with Nonpriority Unsecured
Claims
Ciy Sue ZIP Code Last 4 digits of account number

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page __of_
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 25 of 32

Fillin this information to identify your case:

 

Debtor 4 Floyd Alexander Lynch

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Texas

Case number
(if known)

 

 

 

LL) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

4 No
C] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

QI No. Go to tine 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LJ No

Q) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or fegal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
C] Schedule D, line
Name eo
() Schedule E/F, line
Number Street (C} Schedule G, line
City State ZIP Code
3.2
Na (2 Schedule D, tine
oe ——
(3 Schedule E/F, line
Number Street (2 Schedule G, line
City State ZIP Code
3.3
NE CJ Schedule D, line
ime
{J Schedule E/F, line
Number Street CQ) Schedule G, line
City ; State ZIP Code
Official Form 106H Schedule H: Your Codebtors

page 1of_

 
Debtor 1

Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 26 of 32

 

First Name

Last Name

| ES Page to List More Codebtors

Column 1: Your codebtor

PE]

Case number (i known),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

C3 Schedule D, line

Name
UO Schedule E/F, line
Number Street (J Schedule G, line
City State ZIP Code
(2 Schedule D, line
Name ——_——
Q Schedule E/F, line
Number Steet C} Schedule G, line
City State ZIP Code
Fe] C) Schedule D, line
Name _
(2 Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
P| CI Schedule D, line
Name _————
) Schedule E/F, line
Number Street Cl Schedule G, line
b] City State ZIP Code
(2 Schedule D, line
Name _
QO) Schedule E/F, line
Number Street CJ Schedule G, tine
City State ZIP Code
P| (2 Schedule D, line
Name _
CJ Schedule E/F, line
Number Street C] Schedule G, line
: City State ZIP Code
P| C) Schedule D, tine
Name —
(J Schedule E/F, line
Number Street () Schedule G, line
on City State ZIP Code
(3 Schedule D, line
Name —
() Schedule E/F, line
Number Street UC) Schedule G, line
City State ZIP Code

 

 

Official Form 106H

Schedule H: Your Codebtors

page ___ of __
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 27 of 32

Fill in this information to identify your case:

Floyd Alexander Lynch

Debtor 1

 

First Name Middie Name

Debtor 2

 

(Spouse, if filing) First Name Middle Name
United States Bankruptcy Court for the: Southern District of Texas

Case number
(If known)

 

Check if this is:
(J An amended filing

 

Official Form 1061
Schedule I: Your Income

 

(J A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,
attach a separate page with
information about additional Employment status Zi Employed CLémployed
employers. Q) Not employed Not employed
Include part-time, seasonal, or
seltemployed work. Occupation Material Handler
Occupation may include student
or homemaker, if it applies.
Employer's name Mckesson
Employer's address 20710 Hempstead Rd
Number Street Number Street
Houston TX 77065
City State ZIP Code City State ZIP Code

How long employed there? 1 yr 2

Give Details About Monthly Income

1 yr2

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 3000.00 $ 0
3. Estimate and list monthly overtime pay. 3. +$§ 250.00 + §
4. Calculate gross income. Add line 2 + line 3. 4. | g 3250.00 $ 0

Official Form 106i Schedule |: Your Income

 

 

 

 

 

page 1
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 28 of 32

Debtor 1 Floyd Alexander Lynch

First Name Middle Name Last Name

 

Copy line 4 ere. ceeccccccessseescssseseseesseseeseseescansecanesnssessssesecesssecsveneeasanene > 4.

5. List alt payroll deductions:

Sa. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
Sc. Voluntary contributions for retirement plans
Sd. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

6. Add the payroll deductions. Add lines Sa + Sb + Sc + 5d + Se +5f + 5g + Sh.

~

. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

Sb.

& 2

of.

Sh.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

 

8g. Pension or retirement income

8h. Other monthly income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

8f.

8g.

8h.
9.

10.

State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

Case number (i known)

 

 

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or
non-fili use
$ 3250.00 $
$ 145.00 $
$ $.
$ $.
$ $.
g 312.00 $
$ 101.00 $
$. $
+$ + $
3 558.00 $
$ 2692.00 $
$. $.
$. $.
$ $
$ $
$ $.
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$. $
+$ +$
$ $
¢ 2692.00 14] 5 O |=|s 2692.00

 

 

 

 

 

 

 

 

12.

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies

13.D0 you expect an increase or decrease within the year after you file this form?

CL] No.

1.4% $

12.

2692.00

Combined
monthly income

 

 

Wd Yes. Explain: decrease, due to an injury requiring surgery and | will be out of work for 3-4 months.

 

 

 

Official Form 106!

Schedule !: Your Income

page 2
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 29 of 32

Fill in this information to identify your case:

Floyd Alexander Lynch
Debtor! "Oye ynen Check if this is:

 

Debtor 2 .
(Spouse, if filing) FretName Middle Name LJ An amended filing

CJ A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Southern District of Texas

Case number MM / DD/ YYYY
(if known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Describe Your Household

1. Is this a joint case?

@ No. Goto line 2.
C) Yes. Does Debtor 2 live in a separate household?

C] No
(J Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? CO) No .
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and W Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... O
Do not state the dependents’ Kheaton Lynch , Son 11 a No
names. ‘ Yes
Katron Lynch 1 9o% 12 No
4 Yes
Katrina Lynch joi fy 39 LA No
ui Yes
LJ No
OQ) Yes
LI No
CL) Yes
3. Do your expenses include wy No

expenses of people other than QO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ 2150.00
any rent for the ground or lot. 4.
If not included in line 4:
4a. Real estate taxes 4a. §
4b. Property, homeowner's, or renter's insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $ 150
4d. Homeowner's association or condominium dues 4d. §$

Official Form 106J Schedule J: Your Expenses page 1
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 30 of 32

Debtor 4 Floyd Alexander Lynch

10.
11.

42.

13.
14.

45.

16.

17.

18.

19.

20.

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c, Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Instaliment or lease payments:
17a, Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (i known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 106}).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or § of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

a

& 2 F ®

“

©

10.

11.

12.

13.

14.

15a.
15b.
15e.
15d.

16.

17a.

1?b.

17c.

17d.

18.

19.

20a.
20b.
20c.
20d.
20e.

 

Your expenses
$
$ 200.00
$ 150.00
$ 50.00
$
$ 500.00
$
$ 100.00
$ 50.00
$ 100.00
$ 100.00
$
$
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$
$

page 2
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 31 of 32

Debtor 1 Floyd Alexander Lynch

Case number (if known)
First Name Middle Name Last Name

 

21. Other. Specify: 21. +$

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. | ¢ 3550.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $
22c. Add line 22a and 22b. The result is your monthly expenses. 220. | § 3550.00

 

 

 

23. Calculate your monthly net income.

 

, . $ 3250.00

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. -————

23b. Copy your monthly expenses from line 22c above. 23b. ag 3550.00

23c. Subtract your monthly expenses from your monthly income. -300.00
The result is your monthly net income. 23c. s -

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to finish paying for your car ioan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Wf No.

Cl Yes. Explain here:

Official Form 106J Schedule J: Your Expenses page 3

 
Case 19-36524 Document 3 Filed in TXSB on 11/22/19 Page 32 of 32

Filltn this information to tdentify your case:

Debtor 4 Floyd Alexander Lynch

First Name Middle Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Texas

Case number
(If known)

 

(J Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/16

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wf No
LJ Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x be Wat x
1 | C

 

 

Signature of De Signature of Debtor 2
Date II Zl POI q Date
MM/ DD 7 YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 

 

 

 
